          Case: 1:22-cv-01162 Document #: 16 Filed: 03/24/22 Page 1 of 2 PageID #:184

                                        United States District Court
                                        Northern District of Illinois

In the Matter of

 M1 Holdings Inc.                                   District Judge Franklin U. Valderrama
                          v.                                        Case No. 22-CV-1162
                                                                     Designated Magistrate Judge
 Members 1st Federal Credit Union                                                   Jeffrey Cole



                    TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE
                                 FOR A REASSIGNMENT

   I recommend to the Executive Committee that the above captioned case be reassigned by lot
to another judge of this Court. The reasons for my recommendation are indicated on the reverse
of this form.




                                                   ________________________________
                                                         Judge Robert W. Gettleman

Date: Thursday, March 24, 2022



                                 ORDER OF THE EXECUTIVE COMMITTEE

   IT IS HEREBY ORDERED that the above captioned case be reassigned by lot to the calendar
of an individual judge of this Court in accordance with the Rules.


                                              ENTER

                                   FOR THE EXECUTIVE COMMITTEE




                                                   _____________________________________
                                                    Chief Judge Rebecca R. Pallmeyer
Dated:Thursday, March 24, 2022

District Reassignment - By Lot
          Case: 1:22-cv-01162 Document #: 16 Filed: 03/24/22 Page 2 of 2 PageID #:185




- 28:294(b) I transfer this case to the Executive Committee for reassignment to another judge pursuant to
the provisions of 28 USC 294(b). The receiving judge will receive equalization credit.




EXCEPTIONS OR ADDITIONS:




District Reassignment - By Lot
